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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
Western Division

 
  

UNITED sTATEs oF AMERICA ClEF:i;, ns ` ` " `,F§F&m

me af flra-fisale
-vs- Case No. 2:05cr20250-01Ml
DELoIs HARR!S

 

ORDER OF DETENTION PEND|NG TR|AL
FlND|NGS
In accordance With the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has not
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant is not currently eligible for release due to pending matters in another
jurisdiction; to wit, the defendant is serving a sentence from another case.

ARRAIGNMENT set Wednesday July 20, 2005 at 10:00am in C/R # 5.
DlRECT|ONS REGARD|NG DETEN'|_'|ON

DELOIS HARRIS is committed to the custody of the Attorney General or his designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal. DELOIS I-IARRIS shall be afforded a reasonable opportlmity for private
consultation with defense counsel. On order of a Court of the United States or on request of an attorney for the
government, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection With a Court proceeding

Date: July 11, 2005 404 g/vu K- %d(’/WJ’
DIANE K. vEscovo
UNITED s'rArEs MAGISTRATE JUDGE

Thls document entered on the docket sheet fn compliance

with sale as and/or 32(:~>) Fach on 212 §§

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number l3 in
case 2:05-CR-20250 Was distributed by faX, mail, or direct printing on
July 12, 2005 to the parties listed.

 

 

Camille Reese Mcl\/lullen
U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on MoCalla
US DISTRICT COURT

